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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

  STEVEN LEON DAVIS, Individually and                   )
  As Personal Representative of the Estate of           )
  MARY ALICE DAVIS, Deceased,                           )
                                     Plaintiff,         )
         v.                                             )   CASE NO. 2:12-CV-0373JMS-WGH
                                                        )
  WILLIAM RYAN SUTHERLAND, M.D.,                        )
  HIRISADARAHALLY NAGARAJA, M.D., and                   )
  UNION HOSPITAL, INC.,                                 )
                         Defendants.                    )

                        THIRD AMENDED COMPLAINT FOR DAMAGES
                                        AND
                               DEMAND FOR TRIAL BY JURY

                                               COUNT I

         Plaintiff Steven Leon Davis, individually and as personal representative of the estate of

  Mary Alice Davis, deceased, by counsel, for his cause of action against the defendants alleges

  and states the following:

         1.      At all relevant times mentioned herein, Steven Leon Davis was the lawful

  husband of Mary Alice Davis (“Mrs. Davis”). He is a citizen of Illinois and the duly appointed,

  acting, and qualified personal representative of the estate of Mary Alice Davis, having been so

  appointed by the Edgar County Circuit Court, State of Illinois, Cause No. 2009-P-18, on April

  15, 2009. The decedent was a citizen of the state of Illinois.

         2.      William Ryan Sutherland, M.D., is a citizen of Kentucky. Hirisadarahally

  Nagaraja, M.D., is a citizen of Indiana. Union Hospital, Inc., is a domestic corporation

  incorporated under the laws of Indiana with its principal place of business in Indiana.

         3.      The amount in controversy, without interests and costs, exceeds the sum or value

  of $75,000 as specified by 28 U.S.C. §1332. In addition to the personal injuries and damages

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  alleged below, plaintiff incurred more than $ 963,000.00 in medical expenses on account of the

  negligent treatment of Mrs. Davis.

         4.       At all relevant times mentioned herein, William Ryan Sutherland, M.D., Union

  Hospital, Inc., and Hirisadarahally Nagaraja, M.D., were qualified health care providers pursuant

  to I.C. 34-18-1-1 et seq. Because each defendant is a qualified health care provider under the

  Indiana Medical Malpractice Act, each defendant has liability coverage of $250,000.00, with

  additional coverage from the Indiana Patient’s Compensation Fund. As a qualified health care

  provider, each defendant is jointly and severally liable for all of plaintiff’s damages. Plaintiff’s

  damages exceed the sum or value of $75,000 exclusive of interests and costs as specified by 28

  U.S.C. §1332.

         5.       Pursuant to Indiana law, this claim was presented to a medical review panel which

  issued a unanimous opinion on or about October 9, 2012, that William Ryan Sutherland, M.D.,

  and Hirisadarahally Nagaraja, M.D., breached the standard of care. A copy of the medical

  review panel opinion is attached as Exhibit 1.

         6.       At all relevant times mentioned herein, Mrs. Davis had a physician patient

  relationship with William Ryan Sutherland, M.D., and Hirisadarahally Nagaraja, M.D.,

  respectively.

         7.       On or about July 19, 2007, Hirisadarahally Nagaraja, M.D., an endocrinologist,

  commenced the care and treatment of Mrs. Davis for nodules in her left adrenal gland.

         8. Despite the fact that the adrenal nodules had a benign appearance on MRI and that

  Mrs. Davis had no symptoms suggesting adrenal disease, Hirisadarahally Nagaraja, M.D.,

  recommended surgery for “subclinical disease”.




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         9. On or about October 19, 2007, William Ryan Sutherland, M.D., commenced the care

  and treatment of Mrs. Davis and concurred in the recommendation for surgery to remove her left

  adrenal gland.

         10. William Ryan Sutherland, M.D., performed a laparoscopic adrenalectomy surgery on

  or about November 27, 2007 at Union Hospital, Inc. Mrs. Davis also received care and treatment

  from Union Hospital, Inc., by its agents and employees.

         11. At the time of Mrs. Davis’ surgery, William Ryan Sutherland, M.D., had been in

  private practice for three months following the completion of his training. He had performed this

  procedure only four times during his surgical residency and never before in private practice.

         12. During his surgery on Mrs. Davis, William Ryan Sutherland, M.D., inserted a trocar

  through her colon which required him to convert from a laparoscopic to an open procedure to do

  a colon repair. During the course of this repair and removal of the adrenal gland, William Ryan

  Sutherland, M.D., caused injury to the renal vein and splenic vein resulting in “torrential”

  bleeding and hemorrhagic shock. Another surgeon was called in to repair the injuries to the

  renal vein and splenic vein. It was also necessary to remove Mrs. Davis’ spleen and distal

  pancreas.

         13. Mrs. Davis remained hospitalized at Union Hospital for nearly one month following

  this surgery. During her admission at Union Hospital, William Ryan Sutherland, M.D.,

  performed four additional surgeries including placement of a central line and ostomy for a

  perforated colon; exploratory surgery; tracheotomy for respiratory failure; and surgeries to

  washout her abdominal wound. Mrs. Davis was treated for respiratory failure, suffered a foot

  drop, and had placement of a hemodialysis catheter for kidney failure. Mrs. Davis had ongoing




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  infection and wound healing issues and was not getting better during her admission at Union

  Hospital.

          14. Mrs. Davis’ family requested that she be transferred from Union Hospital to Indiana

  University Hospital. On arrival at Indiana University Hospital, Mrs. Davis was urgently taken to

  surgery to address an obvious evisceration of her intestines.

          15. Mrs. Davis remained hospitalized at Indiana University Hospital, Kindred

  Healthcare, and Terre Haute Regional Hospital as she progressed from acute care to skilled care,

  where she was weaned from the ventilator, and for rehabilitative care. She was finally able to

  return home on or about February 29, 2008, although still debilitated.

          16.     The recommendation for surgery by Drs. Hirisadarahally Nagaraja and William

  Ryan Sutherland was substandard for a diagnosis of “subclinical disease”. A reasonable

  standard of care warranted at most a needle biopsy, or preferably just following the patient and

  watching her adrenal gland.

          17.     The surgery to remove her adrenal gland was unnecessary and was performed

  without appropriate informed consent. Mrs. Davis was not provided the option of non-operative

  surveillance, was not informed of Dr. Sutherland’s lack of experience, and was not offered

  referral to a tertiary medical center for consultation and services.

          18.     Dr. William Ryan Sutherland’s surgical technique was substandard in causing

  devastating injuries to this patient.

          19.     The care provided by Union Hospital, by its agents and employees, was

  substandard in permitting Dr. Sutherland, without adequate credentialing that he had the requisite

  skill, to perform a laparoscopic adrenalectomy and by its nursing failure to act as patient

  advocates when Mrs. Davis failed to improve while under his care.



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          20. The care provided to Mrs. Davis by William Ryan Sutherland, M.D.; Hirisadarahally

  Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees, was negligent.

          21.     As a direct and proximate result of the negligence of William Ryan Sutherland,

  M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

  and each of them, Mrs. Davis endured additional surgical procedures including splenectomy and

  pancreatectomy; suffered debilitating injuries including respiratory failure, sepsis, DIC, renal

  failure; physical pain and suffering; emotional distress; and incurred hospital, medical,

  rehabilitation, other expenses, and lost wages, all of which continued until her death.

          22.     As a direct and proximate result of the negligence of William Ryan Sutherland,

  M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

  and each of them, Steven Leon Davis suffered loss of love and companionship and support of his

  wife, and incurred medical and other expenses and losses on account of her injuries.

          WHEREFORE, Steven Leon Davis, individually and as personal representative of the

  estate of Mary Alice Davis prays for damages against the defendants, jointly and severally, in an

  amount which will fully and fairly compensate for these losses, the costs of this action, trial by

  jury, and for all other just and proper relief.



                                                    COUNT II

          Plaintiff Steven Leon Davis, individually and as personal representative of the estate of

  Mary Alice Davis, deceased, by counsel, for his cause of action against the defendants alleges

  and states the following:

          1.      At all relevant times mentioned herein, Steven Leon Davis was the lawful

  husband of Mary Alice Davis (“Mrs. Davis”). He is a citizen of Illinois and the duly appointed,



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  acting, and qualified personal representative of the estate of Mary Alice Davis, having been so

  appointed by the Edgar County Circuit Court, State of Illinois, Cause No. 2009-P-18, on April

  15, 2009. The decedent was a citizen of the state of Illinois.

         2.       William Ryan Sutherland, M.D., is a citizen of Kentucky. Hirisadarahally

  Nagaraja, M.D., is a citizen of Indiana. Union Hospital, Inc., is a domestic corporation

  incorporated under the laws of Indiana with its principal place of business in Indiana.

         3.       The amount in controversy, without interests and costs, exceeds the sum or value

  of $75,000 as specified by 28 U.S.C. §1332. In addition to the personal injuries and damages

  alleged below, plaintiff incurred more than $963,000.00 in medical expenses on account of the

  negligent treatment of Mrs. Davis.

         4.       At all relevant times mentioned herein, William Ryan Sutherland, M.D., Union

  Hospital, Inc., and Hirisadarahally Nagaraja, M.D., were qualified health care providers pursuant

  to I.C. 34-18-1-1 et seq. Because each defendant is a qualified health care provider under the

  Indiana Medical Malpractice Act, each defendant has liability coverage of $250,000.00, with

  additional coverage from the Indiana Patient’s Compensation Fund. As a qualified health care

  provider, each defendant is jointly and severally liable for all of plaintiff’s damages. Plaintiff’s

  damages exceed the sum or value of $75,000 exclusive of interests and costs as specified by 28

  U.S.C. §1332.

         5.       Pursuant to Indiana law, this claim was presented to a medical review panel which

  issued a unanimous opinion on or about October 9, 2012, that William Ryan Sutherland, M.D.,

  and Hirisadarahally Nagaraja, M.D., breached the standard of care. A copy of the medical

  review panel opinion is attached as Exhibit 1.




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         6.        At all relevant times mentioned herein, Mrs. Davis had a physician patient

  relationship with William Ryan Sutherland, M.D., and Hirisadarahally Nagaraja, M.D.,

  respectively.

         7.        On or about July 19, 2007, Hirisadarahally Nagaraja, M.D., an endocrinologist,

  commenced the care and treatment of Mrs. Davis for nodules in her left adrenal gland.

         8. Despite the fact that the adrenal nodules had a benign appearance on MRI and that

  Mrs. Davis had no symptoms suggesting adrenal disease, Hirisadarahally Nagaraja, M.D.,

  recommended surgery for “subclinical disease”.

         9. On or about October 19, 2007, William Ryan Sutherland, M.D., commenced the care

  and treatment of Mrs. Davis and concurred in the recommendation for surgery to remove her left

  adrenal gland.

         10. William Ryan Sutherland, M.D., performed a laparoscopic adrenalectomy surgery on

  or about November 27, 2007 at Union Hospital, Inc. Mrs. Davis also received care and treatment

  from Union Hospital, Inc., by its agents and employees.

         11. At the time of Mrs. Davis’ surgery, William Ryan Sutherland, M.D., had been in

  private practice for three months following the completion of his training. He had performed this

  procedure only four times during his surgical residency and never before in private practice.

         12. During his surgery on Mrs. Davis, William Ryan Sutherland, M.D., inserted a trocar

  through her colon which required him to convert from a laparoscopic to an open procedure to do

  a colon repair. During the course of this repair and removal of the adrenal gland, William Ryan

  Sutherland, M.D., caused injury to the renal vein and splenic vein resulting in “torrential”

  bleeding and hemorrhagic shock. Another surgeon was called in to repair the injuries to the




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  renal vein and splenic vein. It was also necessary to remove Mrs. Davis’ spleen and distal

  pancreas.

         13. Mrs. Davis remained hospitalized at Union Hospital for nearly one month following

  this surgery. During her admission at Union Hospital, William Ryan Sutherland, M.D.,

  performed four additional surgeries including placement of a central line and ostomy for a

  perforated colon; exploratory surgery; tracheotomy for respiratory failure; and surgeries to

  washout her abdominal wound. Mrs. Davis was treated for respiratory failure, suffered a foot

  drop, and had placement of a hemodialysis catheter for kidney failure. Mrs. Davis had ongoing

  infection and wound healing issues and was not getting better during her admission at Union

  Hospital.

         14. Mrs. Davis’ family requested that she be transferred from Union Hospital to Indiana

  University Hospital. On arrival at Indiana University Hospital, Mrs. Davis was urgently taken to

  surgery to address an obvious evisceration of her intestines.

         15. Mrs. Davis remained hospitalized at Indiana University Hospital, Kindred

  Healthcare, and Terre Haute Regional Hospital as she progressed from acute care to skilled care,

  where she was weaned from the ventilator, and for rehabilitative care. She was finally able to

  return home on or about February 29, 2008, although still debilitated.

         16.     Because Mrs. Davis had such a protracted period of infirmity on account of the

  malpractice herein, she was at risk for deep vein thrombosis (DVT) and was treated with

  anticoagulants including Coumadin. Coumadin is associated with a risk of hemorrhage. Mrs.

  Davis died from a cerebral hemorrhage on June 3, 2008.

         17.     The recommendation for surgery by Drs. Hirisadarahally Nagaraja and William

  Ryan Sutherland was substandard for a diagnosis of “subclinical disease”. A reasonable



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  standard of care warranted at most a needle biopsy, or preferably just following the patient and

  watching her adrenal gland.

          18.     The surgery to remove her adrenal gland was unnecessary and was performed

  without appropriate informed consent. Mrs. Davis was not provided the option of non-operative

  surveillance, was not informed of Dr. Sutherland’s lack of experience, and was not offered

  referral to a tertiary medical center for consultation and services.

          19.     Dr. William Ryan Sutherland’s surgical technique was substandard in causing

  devastating injuries to this patient.

          20.     The care provided by Union Hospital, by its agents and employees, was

  substandard in permitting Dr. Sutherland, without adequate credentialing that he had the requisite

  skill, to perform a laparoscopic adrenalectomy and by its nursing failure to act as patient

  advocates when Mrs. Davis failed to improve while under his care.

          21. The care provided to Mrs. Davis by William Ryan Sutherland, M.D.; Hirisadarahally

  Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees, was negligent.

          22.     As a direct and proximate result of the negligence of William Ryan Sutherland,

  M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

  and each of them, Mary Alice Davis endured additional surgical procedures including

  splenectomy and pancreatectomy; suffered debilitating injuries including respiratory failure,

  sepsis, DIC, renal failure; incurred additional medical and treatment expenses, and died as a

  result of her injuries.

          23.     As a direct and proximate result of the negligence of William Ryan Sutherland,

  M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

  and each of them, Steven Leon Davis suffered the loss of love and companionship and support



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  on account of the death of his wife, and incurred funeral, burial, medical, and other expenses

  including attorneys’ fees, and litigation expenses on account of her death.

          24.     As a direct and proximate result of the negligence of William Ryan Sutherland,

  M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

  and each of them, the estate of Mary Alice Davis has incurred medical and hospital expenses,

  funeral and burial expenses, attorneys’ fees, costs of administration, and litigation expenses on

  account of her death.

          WHEREFORE, Steven Leon Davis, individually and as personal representative of the

  estate of Mary Alice Davis prays for damages against the defendants, jointly and severally, in an

  amount which will fully and fairly compensate for these losses, the costs of this action, trial by

  jury, and for all other just and proper relief.

                                          Respectfully submitted,

                                          GARAU GERMANO HANLEY & PENNINGTON, P.C.


                                          /s/ Deborah K. Pennington
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                                          Jerry A. Garau, #10822-49
                                          151 N. Delaware Street, Suite 1515
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                                   CERTIFICATE OF SERVICE


         I hereby certify that on the 13th day of May, 2013, the foregoing pleading was filed

  electronically with the United States District Court. Notice of this filing will be sent to the

  following attorneys of record by operation of the Court’s electronic filing system, parties may

  access this filing through the Court’s system:

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                                                 /s/Deborah K. Pennington




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